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1
                               UNITED STATES DISTRICT COURT
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                                      DISTRICT OF NEVADA
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      ROBERT ROYCE BYFORD,                            Case No. 3:11-cv-00112-JCM-WGC
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           Petitioner,
6                                                     ORDER GRANTING
             v.                                       MOTION FOR EXTENSION OF TIME
7                                                     (ECF NO. 100)
8     WILLIAM GITTERE, et al.,
9          Respondents.
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12          In this capital habeas corpus action, the petitioner, Robert Royce Byford, filed a
13   third amended petition for writ of habeas corpus on January 30, 2020 (ECF No. 92).
14   Respondents were due to respond to the third amended petition by April 29, 2020. See
15   Order entered October 24, 2019 (ECF No. 88) (90 days for response).
16          On April 29, 2020, Respondents filed a motion for extension of time (ECF No.
17   100), requesting a 58-day extension of time, to June 26, 2020, to respond to the third
18   amended petition. Respondents’ counsel states that the extension of time is necessary
19   because of his obligations in other cases and because he has had to take on additional
20   responsibilities as a result of the COVID-19 pandemic. Byford does not oppose the
21   motion for extension of time.
22          The Court finds that Respondents’ motion for extension of time is made in good
23   faith and not solely for the purpose of delay, and that there is good cause for the
24   extension of time requested.
25          IT IS THEREFORE ORDERED that Respondents’ motion for extension of time
26   (ECF No. 100) is GRANTED. Respondents will have until and including June 26, 2020,
27   to respond to Petitioner’s third amended habeas petition (ECF No. 92).
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1              IT IS FURTHER ORDERED that, in all other respects, the schedule for further

2    proceedings set forth in the order entered October 24, 2019 (ECF No. 88) will remain in

3    effect.

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5                    May 6,
               DATED THIS   2020.
                          ___ day of ______________________, 2020.
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                                               JAMES C. MAHAN,
8                                              UNITED STATES DISTRICT JUDGE
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